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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 21-729 (RBW)
BRENT JOHN HOLDRIDGE,
Defendant.
)
ORDER

In accordance with the oral rulings issued at the status hearing held on October 25, 2022,
it is hereby

ORDERED that the Defendant’s Motion for Payment of Travel Expenses Pursuant to 18
U.S.C. § 4285, ECF No. 53, is DENIED AS MOOT in light of the Pretrial Services Agency’s
representation that the defendant may remain under its supervision, and the lack of need for a
further in-person status hearing.

SO ORDERED this 25th day of October, 2022.

REGGIE B. WALTON
United States District Judge
